Case 2:18-cv-00149-JMS-MJD Document 20 Filed 10/15/18 Page 1 of 1 PageID #: 125



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

 DENNIS DINWIDDIE,                            )
                                              )
 Petitioner,                                  )
                                              )
 v.                                           )      Cause No. 2:18-cv-00149-JMS-MJD
                                              )
 J. E. KRUEGER, Warden,                       )
                                              )
 Respondent.                                  )

                           NOTICE OF ENTRY OF APPEARANCE

        Notice is hereby given that the undersigned enters appearance as counsel of record for

 Dennis Dinwiddie in this case. Please direct all further pleadings and correspondence to the

 undersigned at the address below.

                                              Respectfully submitted,




                                              /s/ J. Clark Baird
                                              J. CLARK BAIRD
                                              Attorney at Law
                                              969 Barret Ave
                                              Louisville Ky 40204
                                              (502) 583-3388
                                              jclarkbaird@gmail.com


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was sent via
 ECF this 15th day of October, 2018, to Brian Reitz, Assistant United States Attorney.

                                              /s/ J. Clark Baird
                                              J. CLARK BAIRD
